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March 25, 2021

VIA E-FILING

Honorable Ona T, Wang, U.S.M.J.
United States District Court

Southera District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Courtroom 20D
New York, New York 10007

Re; Ahmed Ashour v. Arizona Beverages USA LLC, et al.
Index No. 19-cv-07081 (AT)(OTW)
Joint Status Letter Regarding Discovery

Dear Judge Wang:

Kindly accept this joint letter by way of a brief status update regarding discovery. The
parties continue to meet and confer, having done so by telephone on March 19 and March 23, The
parties await the hearing transcript of the March |7 proceeding and plan to meet and confer again
tomorrow. Based on these circumstances, we respectfully request that the Court consider granting
the parties permission to file a more detailed joint status report on April 7, 2021,

Thank you for Your Honor’s attention to this matter,

Respectfully submitted, a

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